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 8
                          UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11
                                             Case No.: 2:15-cv-07242-MWF-MRW
12   DANA RUTH LIXENBERG,                    Hon. Michael W. Fitzgerald Presiding
13   Plaintiff,                              PLAINTIFF’S STATEMENT OF
14                                           UNCONTROVERTED FACTS AND
     v.                                      CONCLUSIONS OF LAW
15
     BIOWORLD MERCHANDISING,
16
     INC.; et al.
17
     Defendants.                             Date: March 6, 2017
18                                           Time: 10:00 a.m.
                                             Courtroom: First Street Courthouse, 350
19
                                             West First Street, Courtroom 5A, Los
20                                           Angeles, California 90012
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 1         After consideration of the papers and arguments in support of and in
 2   opposition to the Plaintiff Dana Ruth Lixenberg (“Lixenberg”)’s Motion for
 3   Summary Adjudication and any oral argument of counsel, the Court, pursuant to
 4   Fed. R. Civ. P. §56(d), determines that the following findings of fact and law have
 5   been conclusively established:

 6                            UNCONTROVERTED FACTS

 7                   Uncontroverted Fact                             Basis
     1. Lixenberg, an acclaimed photographer, is one      Lixenberg Decl. ¶1.
 8   of few, if not the only, artist to have created
 9
     compelling professional photographs with Tupac
     and Notorious B.I.G. as subjects
10   2. Four of Lixenberg’s original works – three of     Lixenberg Decl.¶1;Exs.1-4
     Wallace and one of Shakur – were unlawfully
11
     copied by Bioworld Merchandising, Inc.
12   (“Bioworld”) and are at issue in this case
     (“Subject Photographs”). Lixenberg
13   independently created the Subject Photographs.
14   3. Ms. Lixenberg created the Shakur photograph       Lixenberg Decl. ¶3; Ex. 4.
     at issue in 1993 (“Shakur Photograph”).
15   4. Working with Vibe magazine, a then-upstart        Burroughs Decl. ¶2, Ex. 8,
16   national publication that covered hip hop in a way   Light Deposition (“Light
     once reserved for more established genres, she       Dep.”), pgs. 113:25-114:12.
17   traveled to Atlanta and photographed the             Lixenberg Decl. ¶3.
     emergent rapper.
18
     5. Lixenberg employed her artistic process to        Lixenberg Decl. ¶3-4.
19   create the Shakur Photograph. In creating the
     Subject Photographs, Lixenberg made many
20   artistic decisions, including the selection of the
21   Wista Black Metal 4x5 Field Camera and 150mm
     Schneider lens used, the composition, angling,
22   and positioning of the camera, the focal length,
23   exposure decision, selection and positioning of
     the subject, the choice of background, lighting,
24   shading, choice of negative area, the instant of
     exposure, the portrayal of emotional aesthetics,
25
     and rendition of the work.


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 1   6. Vibe found Lixenberg’s work remarkable and        Lixenberg Decl. ¶5; Exs. 1-3
     engaged her to photograph a number of other
 2
     personalities such as Prince, Curtis Mayfield, and
 3   Al Green, as well as a rotund former crack dealer
     turned gangster rapper named Christopher
 4
     “Notorious B.I.G.” Wallace.
 5   7. In 1996, Lixenberg created three particularly     Lixenberg Decl. ¶6; Exs. 1-3
     compelling photographs that featured Wallace as
 6   the subject. (“Wallace Photographs”).
 7   8. The Subject Photographs are particularly          Exs. 1-4, 8, Light Dep. pgs.
     resonant images of these young men. The Shakur       113:16-114:2; Lixenberg Decl.
 8   Photograph was not only published by Vibe in its     ¶7; Ex. 39.
 9
     magazine, but also on Vibe’s posthumous
     biography of Shakur, where it was displayed
10   unblemished by any text. It has gone on to be
     used in other publications and projects and has
11
     become iconic
12   9. The Wallace Photographs were also well-           Lixenberg Decl. ¶6, Exs. 1-3,
     received. One of the Wallace Photographs, in         39.
13   which he is seen thumbing through a thick wad of
14   rubber band-bound currency, became iconic after
     being published in Vibe and other publications
15   (known now as the “counting-money”
     photograph). The two other Wallace Photographs
16
     were licensed for editorial use through Corbis, a
17   photography agency, and also enjoyed acclaim in
     the art world and online.
18
     10. Lixenberg exclusively owns all rights in and      Lixenberg Decl. ¶1, 8; Ex. 5.
19   to the Subject Photographs and has registered
     them with the Copyright Office.
20

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 1     In late 2014, Lixenberg discovered that shirts         Lixenberg Decl. ¶9; Exs. 16-
     and other products bearing the Subject                   29.
 2
     Photographs were being sold by mass-market
 3   retailers. Bioworld, a Texas garment company,
     was responsible for manufacturing said product,
 4
     and distributing it to these retailers for sale to the
 5   public (“Infringing Product”). The defendant
     retailers that sold Infringing Product and are
 6   presently in this lawsuit are Citi Trends, Inc.,
 7   Rue21, Inc., Spencer’s Gifts, LLC, Specialty
     Retailers, Inc., Thrillist Media Group, Inc.,
 8   Macy’s Retail Holdings, Inc., Forever 21, Inc.,
     Hot Topic, Inc., Target Corporation, Genesco,
 9
     Inc., Wal-Mart Stores, Inc., Burlington Coat
10   Factory Direct Corp., Ross Stores, Inc., Sears
     Holding Corp., Shopko Stores Operating Co.,
11   LLC, The TJX Companies, Inc., Urban Outfitters,
12   Inc., J.C. Penney Corporation, Inc., and
     Gordmans Stores, Inc. (collectively “Retailer
13   Defendants”).
14   11. Bioworld at no time contacted Lixenberg to           Lixenberg Decl. ¶9.
     seek authorization to exploit the four Subject
15   Photographs
     12.Lixenberg then served cease and desist                Bourdrez Decl. ¶1-2; Ex. 6,
16
     demand letters on Forever 21, Inc. and Macys,            34; Burroughs Decl. ¶4, Ex.
17   Inc., both of which were Bioworld customers for          19.
     the Infringing Product. At least one these letters
18   was forwarded to Bioworld in April 2015. But
19   Bioworld failed contact its numerous other
     customers for the Infringing Product to advise
20   them of the claims, and it continued to sell the
21   Infringing Product until March 2016.
     13. Lixenberg never authorized Bioworld to               Lixenberg Decl. ¶1.
22   exploit the Subject Photographs.
23

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 1   14. The Shakur estate never authorized anyone to   Burroughs Decl. ¶¶5-6, Exs. 9-
     use the Shakur Subject Photograph on any           10, Monjauze Dep. pgs.
 2
     merchandise, and Bioworld was not authorized to    182:25-183:17, Sokoloff Dep.
 3   copy the Wallace Subject Photographs from the      II pgs. 21:12-23:20.
     internet or from another company’s infringing
 4
     garment for use on product. Molly Monjauze, the
 5   witness for the Shakur estate testified that the
     estate “never sent this photo anywhere to anyone
 6   with the understanding that it was approved and
 7   licensed properly for any use at all ever.”
     15. Bioworld’s rights to exploit the Shakur and    Exs. 11, 12.
 8   Wallace likenesses on product were strictly
     circumscribed by the libraries of photographs
 9
     provided by estates for such use. None of those
10   libraries included the Subject Photographs.
     16. Bioworld’s designer, Alex Genovez,             Burroughs Decl. ¶¶8, 10.
11
     unsatisfied with Bioworld’s authorized
12   photograph libraries, went online and illegally
     downloaded the four Subject Photographs from
13   the Tumblr website. This website was not
14   authorized by Lixenberg to display the Subject
     Photographs.
15
     17. Bioworld designer Winston Parker made a      Ex. 10, Sokoloff Dep. II pgs.
16   second unauthorized copy of the “counting        21:12-23:20; Lixenberg Decl.
17   money” Wallace Photograph by scanning it from ¶11, Ex. 7; Markus Decl. ¶2-6
     a garment produced by a company called Changes
18   and sold by Urban Outfitters in 2007-2008. This
19
     garment was the subject of a copyright claim by
     Lixenberg that was resolved in 2008, with
20   Changes and Urban agreeing to no longer sell the
     item.
21

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 1   18. Incredibly, approximately three to four years Ex. 10, Sokoloff Dep. II pgs.
     after this agreement, Urban Outfitters employee     21:12-23:20.
 2
     Mike Tkach met with Parker and the two worked
 3   together to duplicate the infringing garment. After
     scanning the Changes garment, Bioworld used its
 4
     design editing program to copy the Lixenberg
 5   photograph on the garment, and exploited that
     copy along with the downloaded copy.
 6
     19. Lixenberg requested in February of 2016 that U.S.D.C. Dkt. No 103, pgs.
 7
     Bioworld disclose the identities of those          58-69.
 8   responsible for obtaining the Subject
     Photographs: her Interrogatories No. 7 and 8
 9   sought the “the identity of the PERSON(s) that
10   provided the images to YOU” (No. 7), and
     requested that Bioworld “IDENTIFY all
11   witnesses with knowledge or information
     concerning YOUR obtainment or creation of the
12
     ACCUSED IMAGES and/or purchase,
13   distribution, or sale of SUBJECT
     MERCHANDISE” (No. 8)(emphasis added).
14
     Receiving no proper response, Lixenberg filed her
15   first Bioworld discovery motion on June 13,
     2016. See U.S.D.C. Dkt. No 103, pgs. 58-69.
16   After oral argument, the Court ordered the parties
17   to confer and file a joint report regarding the
     agreement reached. The parties filed a report
18   indicating the above interrogatories would be
     fully supplemented by August 9, 2016.
19

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 1   20. After oral argument, the Court ordered the      U.S.D.C. Dkt. No.154; Ex. 10,
     parties to confer and file a joint report regarding Sokoloff Dep. II at, 59:10-17;
 2
     the agreement reached. The parties filed a report 67:11-20; 56:1-5, 11-13.
 3   indicating the above interrogatories would be
     fully supplemented by August 9, 2016. Despite
 4
     the agreement, Bioworld failed to disclose
 5   Genovez or Parker until the second session of its
     deposition in November 2016, at which time
 6   Bioworld also admitted that it “trashed”
 7   Genovez’s computer and files at an unknown time
     for an unknown reason, and that it terminated
 8   Genovez in October of 2016, the month before he
     was identified.
 9

10   21. As justification for the concealment of        U.S.D.C. Dkt No. 173, 15:12-
     Genovez (but not Parker) Bioworld represented to 14; Burroughs Decl. ¶¶10.
11   Magistrate Judge Wilner at a subsequent hearing
     that it had communicated with Genovez in
12
     February of 2016 and December of 2016, and
13   found him not competent to testify. Bioworld
     represented that it “did not disclose Genovez
14
     because, based on the information available to it,
15   Mr. Genovez lacks knowledge as to the matters at
     issue as a result of his brain injury.” Bioworld
16   counsel William Pallares, addressing Judge
17   Wilner on the record, doubled down, expressly
     stating that he spoke with Genovez and concluded
18   that Genovez had no recall of the relevant
     activity, and would not be able to testify as to
19
     anything relevant. No medical records or other
20   evidence supporting this claim have been
     adduced.
21

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 1   22. Genovez’s (court-ordered) deposition was       Burroughs Decl. ¶¶8, 11; Ex.
     held on February 2, 2017, and he capably recalled 41
 2
     the matters at issue. Genovez recalled with little
 3   equivocation which of the products he created in a
     27-page summary of Infringing Product, which
 4
     were created by his colleague, and the website
 5   from which he downloaded the four Subject
     Photographs. He recalled communicating with his
 6   colleague Adam Sokoloff, recalled particularly
 7   liking the way the Subject Photographs looked,
     and recalled that Bioworld had no policy
 8   precluding him from downloading photographs
     from the internet for use on Bioworld product.
 9
     His memory of the relevant activity was
10   impressive, especially given the acts discussed
     took place in 2012.
11
     23. Plaintiff’s counsel and Genovez spoke in      Burroughs Decl. ¶¶11, 12; Ex.
12
     December, 2016. Genovez did not recall ever       41
13   speaking with a lawyer named Bill Pallares,
     though he did recall speaking with a lawyer.
14

15
     24. Genovez’s damaging testimony proved          Burroughs Decl. ¶12 Ex. 13;
     Bioworld’s motive: he rebutted Bioworld’s sworn Ex. 41.
16   discovery responses and previous testimony
     asserting that Bioworld downloaded only two of
17
     the four Subject Photographs and that the Shakur
18   estate was responsible for providing the Shakur
     Photograph.
19
     25. After copying the Subject Photographs onto     Burroughs Decl. ¶13; Exs. 16-
20
     the Infringing Garments, Bioworld sold the         29.
21   Infringing Product to the Retailer Defendants, and
     the Retailer Defendants sold the Infringing
22   Product to the public.
23

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 1   26. Bioworld admitted that it realized at least       Burroughs Decl. ¶¶14-21 Exs.
     $4,431,807.68 in revenues from the sales of the       16-29, Lixenberg Decl. ¶9 Ex.
 2
     Infringing Product, and the Retailer Defendants       6; Bourdrez Decl. ¶1-2; Exs. 6,
 3   realized an aggregate of at least $8,342,894.60 in    34.
     revenues from their respective sales of that
 4
     product. And these revenues are a result of willful
 5   infringement by Bioworld and certain retailers,
     each of which continued to sell Infringing Product
 6   after notice.
 7
     27. Lixenberg’s ownership of a valid copyright in Lixenberg Decl. ¶¶ 1 & 8, Ex.
 8   the Subject Photographs and their registration    5.
     with the Copyright Office is beyond reasonable
 9   dispute.
10
     28. Here, the photographs on the Infringing           See Exs. 1-4, 30.
11   Product are virtually identical copies of the
     Subject Photographs.
12
     29. Bioworld concedes that it copied the Subject      Burroughs Decl. ¶ 23, Ex. 31.
13
     Photographs and that it has no evidence of
14   independent creation.
15   30. The Subject Photographs were published in         Lixenberg Decl ¶¶ 6-7; Ex. 8,
16
     Vibe magazine, other national publications such       Light Dep. pgs. 113:16-114:2;
     as books and magazines, in films and on the           Ex. 39.
17   internet, and elsewhere before the infringement.
18   31. Here, the widespread distribution of the        Lixenberg Decl. ¶¶ 6-7; Ex.
19
     Subject Photographs in magazines, books, online 39.
     at www.mtv.com, www.huffingtonpost.com, and
20   other sites, through Corbis, a photography
     syndication agency, and in art projects establishes
21
     access.
22
     32. Bioworld admitted to copying the Subject          Ex. 41.
23   Photographs from the Tumblr website.
24

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 1   33. It is clear that the Subject Photographs were  Exs. 1-4, 30.
     copied – the composition, lighting, negative
 2
     space, posture, and appearance of the objective
 3   details and elements of the photographs are
     virtually identical. The only difference between
 4
     the Subject Photographs and the photographs on
 5   the Infringing Product is the cruder appearance of
     the latter, which can be attributed to the
 6   photographs on the Infringing Product being low-
 7   resolution copies (as opposed to being created
     from the original negatives) and the fact that the
 8   Subject Photographs are printed sharply on film
     stock or paper and the Infringing Photographs are
 9
     printed on fabric or other textured product.
10
     34. A review of the Subject Photographs and the      Burroughs Decl. ¶25, Exs. 1-4,
11   Infringing Photographs reveals the works’            30.
     substantial similarity in concept and feel.
12
     Lixenberg’s distinctive vision is expressed in the
13   overall tone, appearance, and feel of the works,
     and her unique selection and arrangement of
14
     subject matter, lighting, styling, overall
15   composition, and vision is copied in the
     Infringing Product, as any reasonable viewer
16   would conclude.
17
     35. Bioworld downloaded, copied, and modified        Burroughs Decl. ¶¶ 6, 8, Ex.
18   the Subject Photographs to create the Infringing     10, Sokoloff Dep. II pgs.
     Products, which Defendants, and each of them,        56:12-58:19; 21:12-23:20; Ex.
19   then sold.                                           41.
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 1   36. The only basis of a good faith belief in its   Monjauze Dep. pgs. 182:25-
     innocence offered by Bioworld is that it had other 183:17; Exs. 11, 12.
 2
     agreements with the Shakur and Wallace estates,
 3   but this testimony fails to create a triable issue
     because none of these agreements authorized the
 4
     use of the Subject Photographs, which were not
 5   provided by the estates. Indeed, the Shakur estate
     denies that it ever granted anyone any
 6   permissions to use the Shakur Photograph. And
 7   none of these agreements authorized the use of
     photographs copied from either the internet or
 8   another company’s infringing shirt
 9   37. Bioworld’s agreements with the estates proves Exs. 11-12.
10   that Bioworld knew that permission was required
     to use the photographs, which compels a finding
11   that the infringement was willful.
12   38. Bioworld received notice of Lixenberg’s           Burroughs Decl. ¶ 16, Exs. 10,
13   claims as to the Subject Photographs no later than    21; Sokoloff Dep. II, pgs.
     April of 2015 and was served with this complaint      15:7-16:5; U.S.D.C. Dkt. No.
14   in October of 2015. But, Bioworld continued to        14.
15
     sell and ship the Infringing Product until at least
     March 7, 2016.
16
     39. No Retailer Defendants have provided any          Burroughs Decl. ¶21; Ex. 29.
17   proof of inventory or removal of the Infringing
18   Product from their sales floors. Indeed, it appears
     they just kept selling the Infringing Product until
19   it sold out.
20   40. Evidence of Urban’s willfulness is even           Ex. 7.
21   stronger: it knew in 2008 that Lixenberg owned
     the “counting money” Wallace Photograph,
22   agreed to cease use of it at that time, and
     thereafter worked with Bioworld to copy the
23
     photograph.
24

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 1   41. The estates of Wallace and Shakur, through        Ex.12- 13; Burroughs Decl. ¶
     agents, at most authorized Bioworld to use the        26
 2
     personae of Wallace and Shakur only as set forth
 3   in the library of photographs provided by each
     estate. Notably, Bioworld has failed to produce
 4
     any executed agreement with the estate, and
 5   admitted that they would have no right to exploit
     the persona of an artist without an executed
 6   agreement.
 7
     42. Here, Bioworld exploited the Wallace persona Ex. 12.
 8   outside of the scope of its agreement by seeking
     out and exploiting unlicensed photographs of
 9   Wallace. And Bioworld has not produced any
10   contract that authorizes it to exploit the Shakur
     likeness at all, let alone one that allows it to
11   exploit the Shakur likeness as depicted in the
     Subject Photograph.
12

13   43. Bioworld concealed for at least ten months of Ex. 10, Sokoloff Dep. II, pg.
     this litigation the identities of Genovez and      67:11-20.
14   Parker, despite a motion to compel and stipulation
15
     filed with the Court stating that such identities
     would be produced. And, Bioworld “trashed”
16   Genovez’s computer and files, terminated him,
     and then engaged in a fraudulent cover-up and
17
     post facto justification for the concealment.
18
     44. Defendants’ discovery misconduct goes             Burroughs Decl. ¶ 28.
19   further. Its primary witnesses stated at deposition
     that they only recently became aware of the
20
     claims at issue, and none of them had been
21   requested to locate documents or information
     related to discovery in this case (other than one –
22   Carrie Mallis, who stated that her charge was to
23   only obtain emails between her and Rick
     Barlowe).
24

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 1   45. Bioworld’s witnesses testified that               Burroughs Decl. ¶ 29-20, Ex.
     apportionment was not possible for the Infringing     33, 35 (No. 16, pgs. 12-13);
 2
     Product because one can’t extract the image or        Hessong Dep. pgs. 159:12-
 3   persona of a celebrity from his photograph or a       160:17; Sokoloff Dep 27:22-
     product bearing his photograph. This concession
 4                                                         28:1.
     is echoed in Bioworld’s discovery response,
 5   which fails to set forth any percentages or state
     anything other than its belief that the Wallace and
 6   Shakur personae are relevant.
 7
     46. In the alternative, Bioworld should be           Burroughs Decl. ¶ 31, Ex. 36.
 8   precluded from seeking apportionment in any
     amount above $901,171.44, which it asserts is the
 9   amount it paid to the estates to use the personae at
10   issue.

11   47. Bioworld’s answer asserts as a defense that its U.S.D.C. Dkt. No. 80, 9:8-16.
     use of the Subject Photographs was lawful
12   because Lixenberg licensed other parties to use
13   the Subject Photographs.

14   48. Defendants’ invocation of the defense appears Lixenberg Decl., ¶ 11, Ex. 7.
     to rely on an unrelated company’s infringement
15   in 2007-2008. There, a company named Changes
16   created an infringing shirt that bore one of
     Lixenberg’s Wallace Photographs and sold those
17   garments to Urban Outfitters.
18
     49. Plaintiff has proven the infringers’ gross        Burroughs Decl. ¶ 13, Exs. 14-
19   revenues, as set forth in the attached Exhibits 14-   18.
     18.
20

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 1   50. Bioworld denied the following requests for      Ex. 37.
     admission (“RFA”s), which go to the heart of the
 2
     case, and did not qualify its responses: RFA No.
 3   9: Admit that YOU have no evidence to establish
     that the SUBJECT PHOTOGRAPHS are owned
 4
     by any PERSON other than Plaintiff; RFA No.
 5   12: Admit that YOU do not have a license or
     written agreement to use SUBJECT
 6   PHOTOGRAPHS in any way; RFA No. 15:
 7   Admit that YOU received notice of the alleged
     infringement at issue in this action from Plaintiff
 8   before the initiation of this lawsuit; RFA No. 25:
     Admit that YOU did not obtain a transfer of rights
 9
     from any party that allowed YOU to use the
10   images incorporated in the SUBJECT
     MERCHANDISE. Bioworld wrongfully denied
11   other requests for admission, as did Walmart and
12   Urban Outfitters.

13   51. Bioworld engaged in scorched earth discovery Burroughs Decl. ¶ 33, Ex. 37,
     tactics in an attempt to substantiate these           38.
14
     denials—it served at least twenty-nine (29)
15   subpoenas (including subpoenas for Wallace’s
     mother and daughter), held numerous depositions
16   (including Plaintiff twice), and served at least five
17   thousand pages of documents, as well as massive
     amounts of electronic data, all of which had to be
18   reviewed to investigate the above denials. No
     evidence ever supported any of the above denials,
19
     and all evidence supported admission. Yet,
20   Bioworld maintained its position despite all
     evidence.
21

22

23

24
                               CONCLUSIONS OF LAW
                   Conclusion of Law                                Basis
25   1. Summary judgment must be granted if the        Fed. R. Civ. P. §56(c); Tarin
     evidence, when viewed in the light most favorable v. County of Los Angeles, 123

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 1   to the non-moving party, shows that there is no       F. 3d 1259, 1263 (9th Cir.
     genuine issue as to any material fact.                1997).
 2

 3   2. The moving party must shift the burden by          Celotex Corp. v. Catrett, 477
     presenting evidence to establish the absence of       U.S. 317 (1986).
 4   any issues of material fact, and the non-moving
 5
     party must provide specific facts that create a
     material issue.
 6
     3. A mere scintilla of evidence is insufficient;      Id., quoting Anderson v.
 7   “there must be evidence on which the jury could       Liberty Lobby, Inc., 477 U.S.
 8   reasonably find for the [non-movant].”                242, 252, 106 S.Ct. 2505, 91
                                                           L.Ed.2d 202 (1986)).
 9
     4. Entry of summary judgment is appropriate           Celotex, 477 U.S. at 322, 106
10   “against a party who fails to make a showing          S.Ct. 2548.
     sufficient to establish the existence of an element
11
     essential to that party's case, and on which that
12   party will bear the burden of proof at trial.”

13   5. Lixenberg has the exclusive right to               17 U.S.C. §106.
     “reproduce, distribute, and publicly display” the
14
     Subject Photographs.
15
     6. To succeed on her copyright infringement           Three Boys Music Corp. v.
16   claims, Lixenberg need only establish (1)             Bolton, 212 F.3d 477, 481 (9th
     ownership of the Subject Photographs; and (2)         Cir. 2000 (citation omitted).
17
     infringement—that the Infringing Product bears
18   copies of the Subject Photographs.
19   7. Lixenberg establishes copying by showing that      Three Boys Music Corp. v.
     Defendants had an opportunity to “access” the         Bolton, 212 F.3d 477, 481 (9th
20
     Subject Photographs and that the Subject              Cir. 2000 (citation omitted).
21   Photographs and the Infringing Photographs are
     “substantially similar.”
22
     8. “Even a slight amount” of originality is           Feist Publications. Inc. v.
23   sufficient to meet this threshold.                    Rural Tel. Serv. Co., Inc., 499
                                                           U.S. 340, 345 (1991).
24   9. Indeed, “almost any[ ] photograph” will            Los Angeles News Serv. v.
25   qualify “merely by virtue of the photographers’       Tullo, 973 F.2d 791, 794 (9th
     personal choice of subject matter, angle of           Cir. 1992)(citation omitted);

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 1   photograph, lighting, and determination of the          see also Morris v. Guetta,
     precise time when the photograph is to be taken.”       2013 WL 440127 at *3 (C.D.
 2
                                                             Cal. Feb. 4, 2013)(“even the
 3                                                           slightest artistic touch” meets
                                                             the originality test for a
 4
                                                             photograph.”), quoting Ets–
 5                                                           Hokin v. Skyy Spirits, Inc., 225
                                                             F.3d 1068, 1076 (9th
 6                                                           Cir.2000)
 7   10. Tullo also states that courts “have carefully       Tullo, 973 F.2d, at 794
     delineated selection of subject, posture,               (citation omitted);
 8   background, lighting, and perhaps even
     perspective alone as protectable elements of a
 9
     photographer’s work.”
10   11. And, under 17 U.S.C. §410(c), Lixenberg’s           Lamps Plus, Inc. v. Seattle
     copyright registrations for the Subject                 Lighting Fixture Co., 345 F.3d
11
     Photographs creates a presumption that the works        1140, 1144 (9th Cir. 2003).
12   are sufficiently original and owned by Plaintiff.
     12. While the presumption is automatic for works        17 U.S.C. § 410(c)(evidentiary
13   registered within five years of their publication, it   weight “shall be within the
14   is within the court’s discretion when the               discretion of the court.”).
     registration is effected beyond five years.
15   13. “Most courts conclude that untimely                 Brighton Collectibles, Inc. v.
16
     certificates constitute prima facie evidence[,]”        RK Texas Leather Mfg., 2012
     especially when “the only flaw is the passage of        WL 6553403, at *2 (S.D. Cal.
17   time[.]”)                                               Dec. 13, 2012) (citations
                                                             omitted).
18
     14. Copying is proven by showing that: (1) the          Three Boys Music Corp., 212
19   Defendants had a reasonable opportunity to view         F.3d at 486.
     or access the copyrighted material; and (2) the
20   defendant’s work and plaintiff’s work are
21   substantially similar.

22   15. Given the “direct evidence of copying,” there       Range Road Music, Inc. v.
     is no need for this Court to engage in the              East Coast Foods, Inc., 668
23   substantial similarity analysis, which is rendered      F.3d 1148, 1154 (9th Cir.
24   “irrelevant” by the direct copying.                     2012).

25   16. “Substantial similarity is not an element of a      Id., 668 F.3d at 1154 (internal
     claim of copyright infringement. Rather it is a

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 1   doctrine that helps courts adjudicate whether        quotation marks omitted).
     copying of the constituent elements of the work
 2
     that are original actually occurred when an
 3   allegedly infringing work appropriates elements
     of an original without reproducing it in toto.”
 4

 5
     17. To establish access, Lixenberg need only         Three Boys Music Corp., 212
     establish that Bioworld or a supplier had a          F.3d at 482, citing 4 Melville
 6   “reasonable opportunity” to “view the plaintiff’s    B. Nimmer & David Nimmer,
     work.”                                               Nimmer on Copyright,
 7
                                                          §13.02[A], at 13-19 (1999).
 8
     18. This is done by establishing widespread          L.A. Printex Indus., Inc. v.
 9   dissemination of the works, or establishing a        Aeropostale, Inc., 676 F.3d
     chain of events linking the plaintiff and            841, 846-847 (9th Cir. 2012).
10
     infringer’s works, or establishing a striking
11   similarity between the works.
12   19. Access should be established when the            Three Boys Music Corp., 212
     infringing work is “strikingly similar” to the       F.3d at 486.
13
     plaintiff’s work.
14
     20. To establish striking similarity, Lixenberg      Testa v. Janssen, 492 F. Supp.
15   “must demonstrate that such similarities are of a    198, 203 (W.D.Pa.1980),
16
     kind that can only be explained by copying, rather   quoting Stratchborneo v. Arc
     than by coincidence, independent creation, or        Music Corp., 357 F.Supp.
17   prior common source.”                                1393, 1403 (S.D.N.Y.1973).
18   21. Widespread dissemination of an allegedly         L.A. Printex, 676 F.3d at 847-
19
     infringed work gives rise to an inference of         48 (finding distribution of
     access.                                              50,000 yards of a fabric design
20                                                        before infringement created a
                                                          “reasonable possibility” of
21
                                                          access).
22
     22. When evidence necessary to establish access      Friedman v. Live Nation
23   is solely within the possession of the infringer,    Merchandise, Inc., 2016 WL
     and the infringer does not produce it, proof of      4394585, at *8 (9th Cir. Aug.
24
     access is unnecessary.                               18, 2016) (“this rule [‘]accords
25                                                        with . . . our general precedent
                                                          that fairness dictates that a

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 1                                                         litigant ought not have the
                                                           burden of proof with respect to
 2
                                                           facts particularly within the
 3                                                         knowledge of the opposing
                                                           party.[’]”]) (citation omitted).
 4

 5
     23. The 9th Circuit applies a two-part test to        L.A. Printex Indus., Inc., 676
     ascertain whether the requisite substantial           F.3d at 848 (citation omitted).
 6   similarity exists.
 7   24. The “extrinsic test” is an “objective         Id. (internal quotations and all
 8   comparison of specific expressive elements” that citations omitted).
     focuses on the “articulable similarities” between
 9   the two works[,]” and the “intrinsic test” is a
     subjective comparison that focuses on “whether
10
     the ordinary, reasonable audience” would find the
11   works substantially similar in the “total concept
     and feel of the works.”
12
     25. It is not necessary that an accused work be       L.A. Printex, 676 F.3d at 851;
13
     virtually identical to infringe.                      see also Universal Pictures
14                                                         Co., Inc. v. Harold Lloyd
                                                           Corp., 162 F.2d 354, 360 (9th
15                                                         Cir. 1947) (“infringement is
16                                                         not confined to literal and
                                                           exact repetition or
17                                                         reproduction; it includes also
18                                                         the various modes in which the
                                                           matter of any work may be
19                                                         adopted, imitated, transferred,
                                                           or reproduced, with more or
20
                                                           less colorable alterations to
21                                                         disguise the piracy.”); 17
                                                           U.S.C.A. § 106(2)(artist may
22                                                         exclude others from creating
23                                                         derivative works).

24   26. The extrinsic test is applied by examining the    L.A. Printex Indus., Inc., 676
     similarities in the respective works’ “objective      F.3d at 849 (internal
25   details in appearance,” including, but not limited    quotations and all citations
     to, “the subject matter, shapes, colors, materials,

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 1   and arrangement of the representations,” as well     omitted).
     as the “original selection, coordination, and
 2
     arrangement of unprotectible elements[,]” which
 3   “may be protectible expression.”
 4   27. Differences between a subsequent work and        L.A. Printex 676 F.3d at 851,
 5
     the original caused by differing means of            citing F.W. Woolworth Co. v.
     reproduction are to be disregarded when              Contemporary Arts, Inc., 193
 6   reviewing similarity.                                F.2d 162, 165 (1st Cir.1951)
                                                          (finding differences in
 7
                                                          subsequent work caused by
 8                                                        means of reproduction to be
                                                          “inconsequential”).
 9
     28. While the intrinsic test is considered           Twentieth Century- Fox Film
10
     subjective, the Court should still grant summary     Corp. v. MCA, Inc., 715 F.2d
11   judgment if it is shown that “the works are so       1327, 1330 (9th Cir. 1983).
     overwhelmingly identical that the possibility of
12   independent creation is precluded.”
13
     29. It is axiomatic that a copyright owner has the   DC Comics v. Towle, 802 F.3d
14   exclusive right “to prepare derivative works”        1012, 1023 (9th Cir. 2015),
     from her original work.                              citing 17 U.S.C. § 106(2).
15

16
     30. A derivative work is a “work based upon one      U.S. Auto Parts Network, Inc.
     or more preexisting works that recasts,              v. Parts Geek, LLC, 692 F.3d
17   transforms, or adapts the preexisting work [...]”    1009, 1015 (9th Cir. 2012).
18   31. A work that is a modified version of a pre-      17 U.S.C. § 101.
19
     existing original work is a “derivative work.”

20   32. To constitute a violation of §106(2) the         Litchfield v. Spielberg, 736
     infringing work need only incorporate in some        F.2d 1352, 1357 (9th Cir.
21   form a portion of the copyrighted work.              1984).
22
     33. While not favored, summary adjudication of       Fodor v. Los Angeles Unified
23   the issue of willfulness should be entered in        Sch. Dist., 2014 WL
     certain circumstances.                               12235424, at *16 (C.D. Cal.
24                                                        June 3, 2014) (“the Ninth
25                                                        Circuit has affirmed a district
                                                          court’s finding of willfulness

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 1                                                          on summary judgment where
                                                            the record demonstrated that
 2
                                                            the defendant had actual
 3                                                          knowledge of its copyright
                                                            violation), citing Peer Int'l
 4
                                                            Corp. v. Pausa Records, Inc.,
 5                                                          909 F.2d 1332, 1336 (9th Cir.
                                                            1990).
 6
     34. Infringement is found willful upon a showing       Peer Int’l Corp. v. Pausa
 7
     of knowledge, willful blindness, or reckless           Records, Inc., 909 F.2d 1332,
 8   disregard of infringing activity.                      1335-36 (9th Cir.1990).
 9   35. To refute evidence of willful infringement, the    Peer Int’l Corp. v. Pausa
     infringer must not only establish its good faith       Records, Inc., 909 F.2d 1332,
10
     belief in the innocence of its conduct, it must also   1336 (9th Cir. 1990), citing 3
11   show that it was reasonable in holding such a          M. Nimmer & D. Nimmer,
     belief.                                                Nimmer on Copyright §
12                                                          14.04[B], at 14–40.3 (1989).
13
     36. Infringer’s declaration that it had no             Peer Int’l Corp., 909 F.2d at
14   “intention to infringe upon the plaintiffs’            1336.
     copyrights” was insufficient to create a triable
15   issue.
16
     37. Willfulness exists where an infringer              Dolman v. Agee, 157 F.3d 708,
17   continued to distribute the work at issue when it      715 (9th Cir. 1998).
     “knew that there was a question as to their
18
     ownership,” and was “presented with evidence
19   that [p]laintiff was the true owner[.]”

20   38. Continuing to infringe after receiving notice      L.A. Printex Indus., Inc. v. Lia
     of infringement constitutes willfulness.               Lee, Inc., 2009 WL 789877, at
21
                                                            *7 (C.D. Cal. Mar. 23, 2009)
22                                                          (retailer found willful at
                                                            summary judgment stage for
23                                                          continuing to sell infringing
24                                                          product after notice), citing
                                                            Peer Int’l Corp., 909 F.2d at
25                                                          1336.


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 1   39. Apportionment defense is not available to    See ABKCO Music, Inc. v.
     willful infringers.                              Harrisongs Music, Ltd., 508
 2
                                                      F.Supp. 798, 801 n.10
 3                                                    (S.D.N.Y.1981), aff’d 722 F.
                                                      2d 988 (2d Cir. 1983)(willful
 4
                                                      infringers cannot seek
 5                                                    apportionment); Smith v.
                                                      Little, Brown & Co., 273
 6                                                    F.Supp. 870, 874
 7                                                    (S.D.N.Y.1967), aff’d, 396
                                                      F.2d 150 (2d Cir.1968)(same,
 8                                                    even when infringed material
                                                      was a relatively minor portion
 9
                                                      of the infringing product).
10                                                    Knitwaves, Inc. v. Lollytogs
                                                      Ltd. (Inc.), another case
11                                                    dealing with infringing
12                                                    garments, illustrates why
                                                      Defendants cannot establish
13                                                    apportionment here. 71 F. 3d
14
                                                      996 (2nd Cir. 1995).

15   40. Apportionment is justly denied to willful    Data Gen. Corp. v. Grumman
     infringers because it is an equitable defense.   Sys. Support Corp., 36 F.3d
16                                                    1147, 1176 (1st Cir.
17                                                    1994)(apportionment is
                                                      “established upon equitable
18                                                    principles”), abrogated by
                                                      Reed Elsevier, Inc. v.
19
                                                      Muchnick, 559 U.S. 154, 130
20                                                    S. Ct. 1237, 176 L. Ed. 2d 18
                                                      (2010), citing Sheldon v.
21                                                    Metro-Goldwyn Pictures
22                                                    Corp., 309 U.S. 390, 402, 60
                                                      S. Ct. 681, 685, 84 L. Ed. 825
23                                                    (1940)( “our decisions leave
24
                                                      the matter to the appropriate
                                                      exercise of the equity
25                                                    jurisdiction upon an


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 1                                                         accounting[.]”).
 2   41.Willful copyright infringers are consistently      Danjaq LLC v. Sony Corp.,
 3   denied equitable defenses.                            263 F.3d 942, 957 (9th Cir.
                                                           2001)(while court have “not
 4                                                         had occasion to apply this
 5
                                                           willfulness exception in the
                                                           recent past, we have
 6                                                         previously recognized it, and it
                                                           remains the law of this
 7
                                                           circuit.”).
 8
     42. This denial is “based on the equitable maxim      Id. at 956, citing Hermes Int’l
 9   that [‘]he who comes into equity must come with       v. Lederer de Paris Fifth Ave.,
     clean hands[.][’]”                                    Inc., 219 F.3d 104, 107 (2d
10
                                                           Cir.2000), quoting Precision
11                                                         Instrument Mfg. Co. v. Auto.
                                                           Maint. Mach. Co., 324 U.S.
12                                                         806, 814, 65 S.Ct. 993, 89
13                                                         L.Ed. 1381 (1945).

14   43. Indeed, “any willful act concerning the cause Precision Instrument Mfg. Co.,
     of action which rightfully can be said to            324 U.S. at 815, 65 S. Ct. at
15   transgress equitable standards of conduct is         997–98, 89.
16   sufficient cause for the invocation of the” doctrine
     precluding an equitable defense.
17
     44. Thus, willful infringement “closes the doors      Jarrow Formulas, Inc. v.
18
     of a court of equity to one tainted with              Nutrition Now, Inc., 304 F.3d
19   inequitableness or bad faith relative to the matter   829, 841 (9th Cir. 2002)
     in which he seeks relief.”                            (citation omitted).
20
     45. The willful Defendants, in order to seek          Adler v. Fed. Republic of
21
     apportionment, must have “acted fairly and            Nigeria, 219 F.3d 869, 877
22   without fraud or deceit as to the controversy in      (9th Cir.2000) (internal
     issue.”                                               quotation marks omitted).
23
     46. This section provides: “[a]ny person who uses Cal. Civ. Code §3344.1(a).
24
     a deceased personality’s name [ . . . ] or likeness,
25   in any manner, on or in products, merchandise, or
     goods [ . . . ] without prior consent from the

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 1   [decedent’s successor or successors in interest],
     shall be liable for any damages sustained by the
 2
     person or persons injured as a result thereof.”
 3
     47. Federal Rule of Civil Procedure 26(a)(1)(A)(i) Hill v. U.S. Dep’t of Homeland
 4   requires the disclosure of any witness “that the   Sec., 570 F. App’x 667, 669
 5
     disclosing party may use to support its claims or  (9th Cir. 2014).
     defenses.”
 6
     48. Bioworld’s late disclosure, in its fourth        Id., citing Henry v. Gill Indus.,
 7   supplemental discovery responses, does “not cure     Inc., 983 F.2d 943, 947 (9th
 8   this non-compliance” and requires the granting of    Cir.1993) (late disclosure of
     relief.                                              crucial witness, even though
 9                                                        before the discovery cut-off,
                                                          was not harmless).
10

11   49. This failure should preclude Bioworld from       Id. (granting motion to exclude
     presenting any apportionment defense.                defense because witness
12                                                        identity was concealed).
13   50. Bioworld’s “trashing” of what could have         Leon v. IDX Sys. Corp., 464
14   been the source of crucial evidence in this case –   F.3d 951, 959 (9th Cir. 2006)
     the computer, software, and files used by            (willful spoliation exists if the
15   Genovez to develop the Infringing Product – also     party has “some notice that the
16
     requires sanction.                                   documents were potentially
                                                          relevant to the litigation before
17                                                        they were destroyed.”)(citation
                                                          omitted).
18

19
     51. And, “because “the relevance of ...              Id., citing Alexander v. Nat’l
     [destroyed] documents cannot be clearly              Farmers Org., 687 F.2d 1173,
20   ascertained because the documents no longer          1205 (8th Cir.1982).
     exist,” a party “can hardly assert any presumption
21
     of irrelevance as to the destroyed documents.”
22
     52. The discovery rules are in place to prevent      Guzman v. Bridgepoint Educ.,
23   just the sort of gamesmanship engaged in by          Inc., 305 F.R.D. 594, 605
     Bioworld here.                                       (S.D. Cal. 2015)(without
24
                                                          sanctions, “[p]arties would be
25                                                        free to engage in the sort of
                                                          “gamesmanship” Rule 26

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 1                                                           intends to prevent by hiding
                                                             witnesses and evidence[.]”),
 2
                                                             citing Fed.R.Civ.P. 26
 3                                                           advisory committee's note
                                                             (1993).
 4

 5
     53. Bioworld’s concealment and spoliation               Id., citing Thomas v. Old Town
     violates not only the letter but the “spirit of Rule    Dental Grp., P.A., 300 F.R.D.
 6   26.”                                                    585, 589 (S.D.Fla.2014)
                                                             (failure to sanction misconduct
 7
                                                             “would permit litigants to
 8                                                           easily hide unfavorable
                                                             witnesses with impunity”).
 9
     54. Bioworld is responsible for commingling the         Sheldon v. Metro-Goldwyn
10
     infringing and non-infringing elements in the           Pictures Corp., 309 U.S. 390,
11   Infringing Product, and thus “must abide the            406, 60 S.Ct. 681, 687, 84
     consequences, unless [it] can make a separation of      L.Ed. 825 (1940).
12   the profits so as to assure to the injured party all
13   that justly belongs to him.”

14   55. Apportionment is proper only when “the              Cream Records, Inc. v. Jos.
     evidence suggests some division which may               Schlitz Brewing Co., 754 F.2d
15   rationally be used as a springboard it is the duty      826, 829 (9th Cir. 1985),
16   of the court to make some apportionment.”               citing Orgel v. Clark
                                                             Boardman Co., 301 F.2d 119,
17                                                           121 (2d Cir.1962)(“the
18                                                           defendants must be content to
                                                             accept much of the
19                                                           embarrassment resulting from
                                                             mingling the plaintiffs’
20
                                                             property with their own.”).
21
     56. Bioworld should be precluded from seeking           See Baisden v. I'm Ready
22   apportionment in any amount above $901,171.44,          Prods., Inc., No. 4:08-CV-
     which it asserts is the amount it paid to the estates   00451, 2010 WL 3766533, at
23
     to use the personae at issue.                           *8 (S.D. Tex. Sept. 22,
24                                                           2010)(such a basis has “a
                                                             rational foundation.”);
25                                                           Burroughs Decl. ¶ 31, Ex. 36.


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 1   57. As the license defense is an affirmative          Worldwide Church of God v.
     defense and must be pled, the defense is waived       Philadelphia Church of God,
 2
     to the extent it relates to third-party licenses.     Inc., 227 F.3d 1110, 1114 (9th
 3                                                         Cir. 2000) (infringer did not
                                                           plead defense so cannot assert
 4
                                                           it in response to a summary
 5                                                         judgment motion)(citations
                                                           omitted).
 6
     58. This leaves Bioworld with the burden of           S.O.S., Inc. v. Payday, Inc.,
 7
     establishing that Lixenberg authorized the use, a     886 F.2d 1081, 1088 (9th Cir.
 8   burden it cannot discharge, especially given that     1989).
     copyright licenses are construed to prohibit any
 9   use not expressly authorized.
10
     59. It is settled that “the statute of limitations does Polar Bear Productions, Inc.
11   not prohibit recovery of damages incurred more          v. Timex Corp., 384 F.3d 700,
     than three years prior to the filing of suit if the     706 (9th Cir. 2004).
12   copyright plaintiff was unaware of the
13   infringement, and that lack of knowledge was
     reasonable under the circumstances.”
14
     60. Where, as here, a Plaintiff does not and          Id., see also UMG Recordings
15   reasonably could not have discovered the              Inc. v. Global Eagle
16   infringement at issue before the commencement         Entertainment, Inc., 2016 WL
     of the three-year limitation period, damages are      345179 (C.D.Cal. Apr. 20,
17   permitted outside the three-year window.              2016) (granting summary
18                                                         judgment and dismissing
                                                           statute of limitations defense).
19

20
     61. “In establishing the infringer’s profits, the     17 U.S.C. § 504(b).
21   copyright owner is required to present proof only
22   of the infringer’s gross revenue[…]”

23   62. Federal Rules of Civil Procedure Rule 37(c)       Marchland v. Mercy Medical
     mandates the recovery of the reasonable expenses      Center, 22 F.3d 933, 936 (9th
24   incurred in proving a matter that a party fails to    Cir.1994) (rule “mandates an
25   admit in response to a request for admission.         award of expenses unless an



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 1                                                         exception applies.”).
 2   63. Discovery responses should admit a request to     Holmgren v. State Farm
 3   the fullest extent possible, and explain in detail    Mutual Automobile Insurance
     why other portions of a request may not be            Company, 976 F.2d 573, 579–
 4   admitted.                                             81 (9th Cir.1992) (expenses
 5
                                                           awarded under Rule 37(c) for
                                                           failure to properly qualify
 6                                                         denials).
 7   64. Unless Bioworld “acted reasonably in           Marchand, 22 F.3d at 937
 8   believing that it might prevail[]” regarding the   (citation omitted).
     fact in dispute, an award of expenses is mandated.
 9
     65. Hundreds of thousands of dollars in costs and     Washington State Physicians
10   attorneys’ fees could have been avoided had           Insurance Exch. and Ass’n v.
11   Bioworld undertaken a good faith inquiry into         Fisons Corp., 122 Wash.2d
     Lixenberg’s requests and provided clear,              299, 858 P.2d 1054, 1084
12   straightforward and honest responses to these         (1993) (rejecting argument
     requests.                                             that discovery request was not
13
                                                           specific enough); Milgram
14                                                         Food Stores, Inc. v. United
                                                           States, 558 F.Supp. 629, 636
15                                                         (W.D.Mo.1983) (if party
16                                                         unable to agree with exact
                                                           wording of request for
17                                                         admission, it should agree to
18                                                         an alternate wording or
                                                           stipulation).
19
     66. And Bioworld failed to “set forth in detail the   Fed.R.Civ.P. 36(a). Per Rule
20   reasons why [it could not] truthfully admit or        37(c).
21   deny the matter.”

22   SO ORDERED.
23

24   Dated: ______________            By:   ______________________________________
                                            UNITED STATES DISTRICT JUDGE
25                                          HON. MICHAEL W. FITZGERALD


                                         - 26 -
                STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF LAW
